Case

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R.AUCHER & BLUM

 

ISTRICT OF CALlFORNlA

 

GREGORY SCOTT DEL ‘ -

NORMAN

  
 

CASE N'UMBE‘R:

Cv- 07-663 PSG (Jwa)

 

v. Plaintit’t{s)
BACCASH, an individual; NO CASH,

INC . , a Californ:i.a corporation; and DOES WRIT OF EXECUTION

1 ~ 10 , inclusive

TO:

**NOTE:

 

Defendant(s)

'I`HE UNI'I`ED STATES MARSHAL FOR THE CENTRAL DISTRICT OF CALII"ORNIA
You are directed to enforce the Judgment described below with interest and costs as provided by law.

On November 10 . 2 008 a judgment was entered in the above-entitled action in favor of:

Plainciff GFUH scott mel Amo
oFF’OE mr an
` Y

as Iudgrnent Creditor and against Defendants No Cash, Inc. and Norman Baccash,
jointly and severaly

as Judgment Debtor, for:
$ ____M. Principal,

$ 162 443.00 AttomeyF ®\'
1 439.22 Mz§a d
f '

 

 

Cbsts, making a total amount of

666699

J`UDGMENT AS ENTERED

 

JUDGMENTS REGISTERED UNDER 28 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE DISTRICT
OF ORIGIN AND CALCULATED AS OF THE DATE OF ENTRY IN THAT DISTRICT.

 

Cv-23 {6/01)

WRIT OF EXECUTION
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WHEREAS, according to an affidavit and/or memorandum of costs after judgment it appears that further sums

have accrued since the entry of judgment in the CENT istrict of CALIFORNIA ,
f() Wlt! eo

$ 1 43 9 . 22 accrued inte H“S

$ 0.00 ac e gatotalof

$ 1 , 43 9 . 22‘ COSTS AND ACCRUED INTEREST -

 

Credit must be given for payments and partial satisfaction in the amount of $ 74 0 7 4 . 95 which is to be

credited against the total accrued costs and accrued interest, with any excess credited against the judgment as
entered, leaving a net balance of:

 

$ 8 9 8 0 7 . 2 7 ACTUALLY DUE on the date of the issuance of this writ of which

$ 8 9 , 8 0 7 . 2 7 Is due on the judgment as entered and bears interest at 1 . 12
percent per annum, in the amount of $ 4 . 98 per day,
from the date of issuance of this writ, to which must be added the
commissions and costs of the officer executing this writ.

 

FOR 0 F CLERK, UNITED sTA'rEs D URT
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nasa sEP 1 5 2009 E USE almy ”AW" B“ EA\_

Deputy rk

 

 

WRIT OF EXECUTION
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'I`he following are name(s) and address(es) of the judgment debtor(s) to whom a copy of the Writ of Execution

must be mailed unless it was served at the time of the levy. This information must be filled in by counsel
requesting this writ.

mo Cash, Ino. __i |_Norman B c sh _|
c/o Johnson & Pham LLP UH& Pham LLP

6355 'I'opanga Canyon Blvd. E“S§$ ga Canyon Blvd.

Suite 115 0¥¥\° nice 115 .

goodland Hills, C¥%R? __| |_Woodland H:'Llls, CA 9l367 J
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NOTICE TO THE JUDGMENT DEBTOR

You may be entitled to file a claim exempting your property from execution You may seek the advice of an
attorney or may, within ten (10) days after the date the notice of levy was served, deliver a claim of

exemption to the levying officer as provided in Sections 703 .510 - 703.610 of the California Code of Civil
Procedure.

 

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